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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                Plaintiff,          )
                                    )
                                    )
v.                                  )                         No. 16-20032-02-JAR
                                    )
KARL CARTER,                        )
                  Defendant.        )
_____________________________________



                                     NOTICE OF APPEAL

       COMES NOW the Plaintiff, United States of America, and hereby gives notice of its

intent to appeal the District Court’s order entered on the docket on January 28, 2020. (Doc.

805.) This notice is timely under Fed. R. App. P. 4(b)(1)(B)(i),




                                              s/ James A. Brown
                                              James A. Brown
                                              Assistant United States Attorney




                                 CERTIFICATE OF SERVICE

       I certify that this document was electronically filed on February 27, 2020, with the Clerk

of the Court by using the CM/ECF system, which will send a copy of the Notice of Docket

Activity to all ECF system participants as of the time of the filing, including to the defendant’s

counsel of record.

                                              s/ James A. Brown
                                              James A. Brown
                                              Assistant United States Attorney
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